60 F.3d 827NOTICE: Fourth Circuit Local Rule 36(c) states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.
    Kenneth Lane WILKES, Plaintiff--Appellant,v.Parker EVATT, Commissioner, South Carolina Department ofCorrections;  Tony Strawhorn, Chief, Community ServiceBranch, South Carolina Department of Corrections;  DouglasP. Taylor, Warden, Lieber Correctional Institution,Defendants--Appellees.
    No. 95-6469.
    United States Court of Appeals, Fourth Circuit.
    Submitted:  June 22, 1995.Decided:  July 13, 1995.
    
      Kenneth Lane Wilkes, appellant pro se.  Larry Cleveland Batson, Robert Eric Petersen, Barbara Murcier Bowens, South Carolina Department of Corrections, Columbia, SC, for appellees.
      Before HALL, MURNAGHAN, and LUTTIG, Circuit Judges.
      PER CURIAM:
    
    
      1
      Appellant appeals from the district court's order denying relief on his 42 U.S.C. Sec. 1983 (1988) complaint.  We have reviewed the record and the district court's opinion accepting the magistrate judge's recommendation and find no reversible error.  Accordingly, we affirm on the reasoning of the district court.  Wilkes v. Evatt, No. CA-94-182-3-17BC (D.S.C. Feb. 23, 1995).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the court and argument would not aid the decisional process.
    
    
      2
      AFFIRMED.
    
    